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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
______________________________________________________________________________

United States of America,                                 Criminal No. 06-313 (01-02) (RHK/RLE)

                        Plaintiff,

        vs.                                                              ORDER

Todd NMN Jourdain and
Robin Greg Kelly, Jr.,

                  Defendants.
______________________________________________________________________________

        Based upon the Report and Recommendation of United States Magistrate Judge Raymond L.

Erickson, and after an independent review of the files, records and proceedings in the above-entitled

matter, it is ORDERED:

        1. That the Report and Recommendation (Doc. No. 56) is ADOPTED;

        2. Defendant Kelly’s Motion to Suppress Confession or Statements (Doc. No. 38) is

DENIED;

        3. Defendant Kelly’s Motion to Suppress Evidence Obtained as a Result of Search and

Seizure (Doc. No. 35) is DENIED;

        4. Defendant Jourdain’s Motion to Suppress Statements, Admissions, and Answers (Doc. No.

46) is DENIED; and

        5. Defendant Jourdain’s Motion to Suppress Evidence Obtained as a Result of Search and

Seizure (Doc. No. 45) is DENIED.

Dated: January 26, 2007

                                                        s/Richard H. Kyle
                                                        RICHARD H. KYLE
                                                        United States District Judge
